        Case:4:19-cv-07123-PJH
        Case  20-16408, 10/16/2020, ID: 11862089,
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                    UNITED STATES COURT OF APPEALS                       FILED
                            FOR THE NINTH CIRCUIT                        OCT 16 2020
                                                                     MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
WHATSAPP INC., a Delaware corporation;          No.    20-16408
FACEBOOK INC., a Delaware corporation,
                                                D.C. No. 4:19-cv-07123-PJH
                Plaintiffs-Appellees,           Northern District of California,
                                                Oakland
 v.
                                                ORDER
NSO GROUP TECHNOLOGIES
LIMITED; Q CYBER TECHNOLOGIES
LIMITED,

                Defendants-Appellants.

Before: W. FLETCHER and BERZON, Circuit Judges.

      Appellee’s motion to dismiss this appeal for lack of jurisdiction (Docket

Entry No. 13) is denied without prejudice to renewing the arguments in the

answering brief. See Nat’l Indus. v. Republic Nat’l Life Ins. Co., 677 F.2d 1258,

1262 (9th Cir. 1982) (merits panel may consider appellate jurisdiction despite

earlier denial of motion to dismiss).

      The opening brief and excerpts of record are due November 16, 2020; the

answering brief is due December 16, 2020; and the optional reply brief is due

within 21 days after service of the answering brief.




SC/MOATT
